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     CENTER FOR BIOLOGICAL DIVERSITY,
12   and WESTERN WATERSHEDS PROJECT
13

14                                UNITED STATES DISTRICT COURT
15                               NORTHERN DISTRICT OF CALIFORNIA
16    RESOURCE RENEWAL INSTITUTE;                      Case No. 4:22-cv-145-KAW
      CENTER FOR BIOLOGICAL
17    DIVERSITY; and WESTERN                           PLAINTIFFS’ CORPORATE
      WATERSHEDS PROJECT,                              DISCLOSURE STATEMENT
18
                   Plaintiffs,
19
            v.
20
      NATIONAL PARK SERVICE, a federal
21    agency,
22                 Defendants.
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 1
             Pursuant to Federal Rule of Civil Procedure 7.1(a), Plaintiffs Resource Renewal Institute,
 2
     Center for Biological Diversity, and Western Watersheds Project certify that they have no parent
 3
     corporations nor public subsidiaries and that no publicly held corporation owns 10% or more of
 4
     their stock.
 5

 6   Dated: January 11, 2022                      Respectfully submitted,
 7
                                                  /s/ Laurence (“Laird”) J. Lucas
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